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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 IN RE:                                           §      Case No. 21-32292
                                                  §
 NB LOFT VUE DST, et al.                          §      Chapter 11
                                                  §
                                                  §      (Jointly Administered)
           Debtors.                               §

                          DECLARATION OF JOSEPHINE AJAYI

       Pursuant to 28 U.S.C. § 1746, I, Josephine Ajayi, declare as follows under penalty of

perjury:

        1.     “My name is Josephine Ajayi. I am a Director of Debt & Structured Finance and
Multifamily Capital Markets for Berkeley Point Capital, LLC d/b/a Newmark Knight Frank
(“Berkeley”). I am of sound mind and competent to make this declaration. I have personal
knowledge of all the facts stated within this declaration based on my personal review of the books
and records of Berkeley pertaining to the loan in the amount of $23,265,000.00, made by Berkeley
to NB Vue Mac, DST (“Vue Mac”), and subsequently assigned by Berkeley to Fannie Mae,
including the records attached to this declaration, and all statements of fact contained herein are
true and correct. I am authorized to make this declaration.

       2.      Berkeley is the servicer of the Loan for Fannie Mae and, as Fannie Mae’s
authorized servicer, Berkeley makes and maintains certain business records in connection with the
Loan, including the business records described in this declaration.

        3.     The document attached hereto as Exhibit B-1 is a true and correct copy of a
document kept by Berkeley in the regular course of business, and it was the regular course of
business of Berkeley for an employee or representative with knowledge of the act or event recorded
to make or keep the record, and these records were made or kept at or near the time of the act or
event, or reasonably soon thereafter:

                o Exhibit B-1: Itemized Statement of Obligations.

        4.     The records of Berkeley reflect that as of July 6, 2021, the balance of the Vue Mac’s
obligations under the Loan is $28,417,788.56.”

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information and belief.



                                                 1
4829-9185-1513v1
2903115-000067
                                                                        EXHIBIT B
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       Executed this 9th day of September 2021.


                                          Josephine Ajayi




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July 16, 2021

NB Vue Mac, DST
Nelson Brothers Professional Real Estate
180 Avenida La Pata, 2nd Floor
San Clemente, CA 92673

RE:     LOAN NUMBER
        Vue on MacGregor Apartments
        4460 South MacGregor Way
        Houston, TX 77021

Please allow this letter to serve as a response to your request for payoff information on the above captioned loan.

The following is a breakdown of the Foreclosure payoff for 7/6/21:

Vue on MacGregor Apartments Foreclosure Payoff Statement:
 Principal Balance (after 3/01/20 payment):                                                  $22,847,423.23
 Prepayment Premium:                                                                           4,719,644.00
 Interest (4.59000000 % from (3/1/20) through (7/6/21)):                                       1,433,218.87
 Default Interest from (11/1/2020 through 7/7/2021):                                             632,486.51
 Late Charges (if applicable):                                                                     4,597.75
 UCC Termination Fee:                                                                                125.00
 Re-conveyance Fee:                                                                                   45.00
 Tax Advance by Servicer:                                                                        920,108.24
 Estimated Legal Fees & Costs:                                                                    35,569.24
 Appraisal:                                                                                        9,300.00
 Phase I Environmental Site Assessment:                                                            2,900.00
 Physical Needs Assessment:                                                                        4,300.00

                                    Total:                                                    $30,609,717.84

 Less:
 FM-Suspense Funds Held-Unapplied NOI:                                                          1,806,241.47
 FM-Suspense Tax Escrow Funds:                                                                    199,852.13
 FM-Replacement Reserves:                                                                          88,764.18
 FM-Other (DST Trust Reserve)                                                                      97,071.50
                                    Total Payoff Amount:                                     $28,417,788.56




                                                                                            EXHIBIT B-1
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